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JoHNNY JoHNsoN, Ci)§rg"?{ §§ iii 'iiiei_;@
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Plaintiff, h his
v. NO. 03-2911-B/v
sHELBY CoUNTY SCHooLs,
Defendant.

 

ORDER DENYING WITHOUT PREJUDICE PLAINTIFF’S
MOTION FOR RELIEF FROM JUDGMENT

 

Before the Court is the June 10, 2005 notice of motion for relief from judgment by the
Plaintiff, Johnny Johnson. Although styled as a notice, Plaintiffis asking this Court for relief under
Federal Rule of Civil Procedure 60(b)(l) and (2) which allow a district court to relieve a party from
a final order based on mistake, inadvertence, surprise, excusable neglect, or newly discovered
evidence. However, on May 19, 2005, Plaintiff filed a notice of appeal, seeking review by the Sixth
Circuit Court of Appeals of this Court’s order granting the Defendant’s motion for summary
judgment When a party files a notice of appeal, the appellate court assumes jurisdiction over the

matter and the district court loses itsjurisdiction. _S_e_e_ Pittock v. Otis Elevator Co., 8 F.3d 325, 327

 

(6th Cir. 1993). “It is settled law that filing a notice of appeal with the district court divests the
district court of jurisdiction to act in a case, except on remedial matters unrelated to the merits of the
appeal.” Fort Gratiot Sanitarv Landt'ill, lnc. v. Michigan Dep’t ofNatural Res., 71 F.3d l 197, 1203
(6th Cir. 1995). The district has discretion to consider a Rule 60(b) motion and may enter an order

stating that it is disposed to grant the motion. Unites States v. Dernianiul<, No. 03-37'/'3, 2005 WL

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910738, at **1 (6th Cir. Apr. 20, 2005) (quoting Deia Vu of Nashville, lnc. v. Metro. Gov’t of
Nashville, 274 F.3d 377, 403 (6th Cir. 2001)). Nevertheless, the district court is under no obligation

to issue an order stating it is disposed to grant the motion because the court no longer has

jurisdiction _S_§§ @; see also Mul‘phv v. Dep’t ofJustice, No. 00-6031, 2001 WL 1299037, at **2

 

(6th Cir. Aug. 9, 2001) (finding that the district court did not abuse its discretion in denying
plaintiffs Rule 60(b) motion when the district court was without jurisdiction after the filing of the
notice ofappeal); United States v. Garcia, No. 97-1706, 1998 WL 228049, at **1 (6th Cir. Apr_ 29,
1998) (concluding that, even though the defendant filed his Rule 60(b) motion before the notice of
appeal, the district court lacked jurisdiction to rule on the motion). Accordingly, because lohnson
has filed a notice of appeal, this Court is without jurisdiction to consider the motionl Thus, the
motion is DENIED without prejudice

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UNI D srATEs DisTRiCT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:03-CV-02911 was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

